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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

LINDSEY J. TOMPKINS,            )
                                )
Plaintiff,                      )                     Case No. 1:21-cv-00510-MU
                                )
v.                              )                     CLASS ACTION COMPLAINT FOR
                                )                     DAMAGES AND INJUNCTIVE RELIEF
TOUCHSTONE PARTNERS, INC. dba )                       PURSUANT TO 47 U.S.C. § 227 et seq.
DEBT NEGOTIATION SERVICES, and )
INFINITY CLIENT SOLUTIONS, LLC, )                     (TELEPHONE CONSUMER
                                )                     PROTECTION ACT)
 Defendants.                    )
                                )                     PLAINTIFF DEMANDS TRIAL BY
                                )                     STRUCK JURY

                   SECOND AMENDED CLASS ACTION COMPLAINT

                                         INTRODUCTION

       This Case arises from the Defendants’ intentional and repeated efforts to market their debt

negotiation services and credit repair services in violation of the Telephone Consumer Protection

Act, 47 U.S.C. §227 et seq. (“TCPA”) and Alabama law. Plaintiff and Class Members seek

damages and injunctive relief for Defendants’ violations of the TCPA and Alabama law. As set

forth below, they seek statutory damages, including the costs incurred in this Action and for such

other, further and different relief to which they may be entitled under the circumstances. Plaintiff,

on behalf of Class Members, alleges on personal knowledge, investigation of undersigned counsel

and information and belief as follows:

                                            PARTIES

       1.       Plaintiff is a natural person and a “person” as defined by 47 U.S.C. §153(39).

       2.      Defendant Touchstone Partners, Inc., is, on information and belief, a Florida

Corporation registered to do business in Alabama.
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       3.      Defendant Infinity Client Solutions, LLC is, on information and belief, a

Wyoming Limited Liability Company.

       4.      Plaintiff, an Alabama, and Mobile County resident, files this Class Action

Lawsuit for damages and other legal and equitable remedies resulting from Defendants’

illegal actions. Defendants negligently, knowingly and willfully caused telephone calls to

be sent to Plaintiff and Class Members’ cellular telephones in violation of the Telephone

Consumer Protection Act, 47 USC § 227 et seq. (“TCPA”), the Alabama Telemarketing

Act” (“ATA”) Ala. Code § 8-19A-1 et seq. and the Alabama Telephone Solicitations Act,

Ala. Code §§ 8-19C-2 through 8-19C-12 (“ATSA”).

       5.      Plaintiff, for her Second Amended Complaint, alleges as follows upon

personal knowledge of her acts and experiences and all other matters, upon information

and belief, including an investigation conducted by her attorneys.

                                 NATURE OF THIS ACTION

       6.      This Second Amended Complaint, addresses Defendants’ unlawful

telemarking campaigns perpetrated upon Plaintiff and Class Members through automated

robocalls made without prior express consent.         Robocalling has plagued American

consumers for years and is getting much worse. According to Consumer Reports, 48

billion robocalls were placed by telemarketers in the United States in 2018. This is higher

than   any   previous   year   and   is   a   56.9%       increase   from   a   year    earlier,

https://www.consumerreports.org/robocalls/mad-about-robocalls/. The calls continued to

increase in 2019 and 2020. According to YouMail, a company that tracks robocalls, over

3.8 billion calls were made during September 2020 alone.




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       7.       Robocalls and SMS messages have long been the FTC's largest source of consumer

complaints, accounting for more than 65 percent of complaints.

       8.       Robocalling, identified as a “scourge” by the United States government, is more

than a mere annoyance. The constant deluge of robocalls reduces nearly every adult American’s

productivity in taking the time to either answer or block the call. The scourge of robocalls has

fundamentally altered how Americans use their phones, with far fewer consumers answering

unknown calls. This harms legitimate callers, such as businesses and emergency agencies, who

have legitimate purposes for contacting consumers by phone and are willing to do so lawfully.

       9.       A significant reason the robocalling problem has exponentially increased is the low

costs made possible by highly effective automated telephone dialing systems. A simple google

search for “robocalls” will reveal ads for thousands of calls for just a few dollars. One expert

estimates    that   robocalling   every   citizen   in   Seattle   would   cost   about   $150.00,

https://medium.com/@TProphet/the-broken-economics-of-robocalls-b58f4842a407.

       10.      One of the most complained about telemarketing schemes is the sale of extended

auto warranty plans through robocalling campaigns. Defendants here engage in similar

telemarketing campaigns. Defendants called Plaintiff after she put her number on the National Do

Not Call Registry while marketing their products and as part of their marketing strategies.

       11.      Congress enacted the TCPA in 1991 to address such intrusion on personal privacy

posed by automated telephone calls. Congress recognized that automated calls are a nuisance, an

invasion of privacy, and a threat to public safety and interstate commerce. Through the TCPA,

Congress provided a means for consumers to seek redress for unlawful calling practices. The

TCPA prohibits telemarketing calls to cellular telephones using either an automated telephone

dialing system, prerecorded messages or artificial voice messages. The TCPA also establishes a



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nationwide Do-Not-Call Registry (“DNCR”) and prohibits telemarketing calls to numbers

placed on the registry. The calls made or caused to be made by Defendants violate the

TCPA, including the rules regarding the DNCR.

       12.     The calls also violate Alabama Telemarketing Act, Ala. Code § 8-19A-1 et

seq.

       13.     Finally, these calls violate the Alabama Telephone Solicitations Act, Ala.

Code §§ 8-19C-2 through 8-19C-12 (“ATSA”).

                                          THE PARTIES

       14.     Plaintiff is a resident of Mobile, Mobile County, Alabama.

       15.     Defendant Touchstone Partners, Inc. dba Debt Negotiation Services is a

Florida Corporation whose primary purpose is selling and administering debt negotiation

services and whose principal business is located in Boynton Beach, Florida.

       16.     Defendant Infinity Client Solutions, LLC is, on information and belief, a

Wyoming Limited Liability Company.

                                   THE CO-CONSPIRATORS

       17.     Through answers to discovery requests, Plaintiff has learned that

Defendants engaged Pioneer Solutions, a corporation in the State of Haryana, India

(“Pioneer”). On information and belief, Pioneer is the entity that actually placed some of

the telephone calls at issue in this case, at the direction of and under Defendants’ control.

       18.     Pioneer obtains lead data from a vendor called Mega Global Services (Mega

Global), which, on information and belief, is based in New Delhi. Mega Global generates

lead data through social media inquiries and credit card debt records.




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                                JURISDICTION AND VENUE

       19.     Jurisdiction in this Court is proper under 28 U.S.C. § 1331 because Plaintiff has

claims that arise under the laws of the United States. This Court has supplemental jurisdiction over

the state law claims according to 28 U.S.C. § 1367. Those claims arise from operative facts

common to federal claims. This Court has subject matter jurisdiction under the Class Action

Fairness Act of 2005 (hereinafter referred to as the “CAFA”), codified as 28 U.S.C. §1332(d)(2).

The matter in controversy exceeds $5,000,000.00, in the aggregate, exclusive of interest and costs,

as each member of the proposed Class, of at least thousands, is entitled to damages of up to

$1,500.00 for each call made by Defendants in violation of the TCPA. Finally, Plaintiff alleges a

national Class, resulting in at least one Class member from a different state.

       20.     This Court also has Federal Question jurisdiction according to 28 U.S.C. §1332 and

47 U.S.C. §227.

       21.     Venue is proper in the United States District Court for the Southern District of

Alabama, Southern Division, because a substantial part of the events or omissions giving rise to

this claim occurred, among other locations, in Mobile County, Alabama. The event or omissions

which took place in Mobile County, Alabama, include the “telemarketing calls” or

“advertisements” directed by Defendants to Plaintiff.

       22.     Venue is also proper in this District because Defendants are deemed to reside in

any judicial district in which they are subject to personal jurisdiction at the time the action is

commenced and because Defendants’ contacts with this District are sufficient to subject

Defendants to personal jurisdiction.




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                                  FACTUAL ALLEGATIONS

       23.     The TCPA prohibits calls made to a cellular telephone using either an

ATDS or prerecorded or artificial voice without the called parties’ consent.

       24.     For telemarketing calls, such as those placed by Defendants or their agents

to Plaintiff, the TCPA requires prior express written consent.

       25.     In 2003, the federal government established the National Do Not Call

Registry (“DNCR”) to protect consumers from unwanted calls and SMS messages. The

DNCR allows consumers to register telephone numbers, indicating their desire not to

receive telephone solicitations at those numbers. See 47 CFR. § 64-120(c)(2). The TCPA

and its implementing regulations prohibit telephone solicitation calls to telephone numbers

listed on the registry. See 47 U.S.C. § 227(c); 47 CFR. § 64-1200(c)(2) (the “Do Not Call

Rule”). Any person whose number is on the registry and has received more than one

telephone solicitation within a twelve (12) month period by or on behalf of the same entity

may recover statutory damages under the TCPA against the violator. See 47 USC §

227(c)(5).

       26.     Defendants sell and administer debt negotiation services. A significant part

of Defendants’ marketing plan is to solicit business through telemarketing campaigns that

employ automated systems to contact thousands of consumers through their cellular

telephones concisely and at a meager cost.

       27.     On information and belief, Touchstone is provided leads by its marketing

vendors after potential clients execute a client agreement through such a vendor.

       28.     Touchstone utilizes the services of Infinity to generate potential client leads.




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       29.     Touchtone, directly or through agents, such as Infinity, has robocalled thousands of

American consumers without their prior written express consent using an ADTS. Many calls,

including the calls made to Plaintiff, were made to numbers placed on the DNCR. Each call was

made in violation of the TCPA.

       30.     When Defendants made or directed the calls to Plaintiff, they were aware of

Alabama law, and TCPA requirements and that automated calls to consumers violated Alabama

law and the TCPA.

       31.     Further evidence of Defendants’ knowing, and willful violations is that Touchstone

was sued for the same or similar conduct in the Northern District of Texas Case No. 16-02054.

       32.     In June and July 2021, Plaintiff received at least three automated calls to her cellular

telephone.

       33.     Specifically, Plaintiff, on the dates below, received at least the following calls from

(516) 536-5674, from Defendant to her cellular telephone:

       07/08/2021-- (516) 536-5674

       07/29/2021 – (516) 536-5674

       08/06/2021 – (561) 536-5674

       34.     The unlawful telemarketing calls repeatedly invaded the personal privacy of

Plaintiff, causing her to suffer damages, and injury-in-fact and entitling her to the relief provided

under Alabama law and the TCPA, including 47 USC § 227(b)(3)(B).

       35.     All of the telephone calls made by, or on behalf of, Defendants to Plaintiff were

made using an “automatic telephone dialing system” (“ATDS”), as defined by 47 USC § 227(a)(1)

and prohibited by 47 USC § 227(b)(1)(A).




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        36.    Plaintiff lost the use of her cellular telephone each time she received one of

these calls.

        37.     She was also caused to lose time and effort while obtaining determining

the origin of the telephone calls.

        38.    At all times relevant herein, Plaintiff’s cellular telephone number was listed

on the DNCR. Plaintiff registered her cellular telephone number, XXX-XXX-7876, with

the DNCR to avoid unwanted telemarketing calls and messages. Plaintiff’s cellular number

was registered on the DNCR more than thirty-one (31) days before she received the

telephone calls at issue.

        39.    Plaintiff uses her cellular telephone number as her main residential line.

        40.    The telephone calls were made by Defendants, or on Defendants’ behalf, by

third persons working at Defendants’ direction. The third parties initiating the unlawful

telephone calls on Defendants’ behalf, if any, did so with actual and apparent authority

from Defendants and, in any event, the actions taken by said third parties were ratified by

Defendants, who reaped benefits, in the form of potential and actual sales, as a direct result

of the unlawful call campaign.

        41.    Defendants’ telephone calls were made for marketing Defendants’ debt

negotiation services, and not made for emergency purposes, as defined by 47 USC §

227(b)(1)(A)(i).

        42.    The telephone calls were made to solicit a sale of consumer goods or

services or to obtain information that may be used for the direct solicitation of a sale of

consumer goods or services. The telephone calls constitute “telemarketing calls” and

“telephone solicitations” within the meaning of TCPA.



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       43.      The telephone calls were not isolated occurrences and were made in a pattern of

repeated transactions of like nature.

       44.      Upon information and belief, the ATDS used by Defendants, or on their behalf, has

the capacity to store or produce telephone numbers to be called using a random or sequential

number generator.

       45.      Upon information and belief, the ATDS used by Defendants, or on their behalf,

also has the capacity to dial telephone numbers stored as a list or in a database without human

intervention.

       46.      Defendants did not have prior express written consent to place the calls to Plaintiff.

       47.      The telephonic communications by Defendants, or on their behalf, violated 47 USC

§ 227(b)(1) and otherwise violated the TCPA.

       48.      Defendants’ telephone calls to Plaintiff also violated the regulations promulgated

under the TCPA regarding calls to consumers whose numbers are included in the DNCR. Plaintiff

received one or more such calls within a twelve (12) month period by Defendants, or on their

behalf, violating the Do Not Call Rule. 47 CFR. § 64.1200(c)(2).

       49.      The telephone calls made by Defendants, or on their behalf, to Plaintiff constitute

“telephone solicitation” as that term is defined at 47 USC § 227(a)(4) and 47 CFR. § 64.1200(f)(14)

and Alabama law.

       50.      Through Defendants’ conduct, Plaintiff suffered an invasion of a legally protected

interest in privacy, specifically addressed and protected by the TCPA.

       51.      Plaintiff has suffered actual damages and injury-in-fact including, but not limited

to, loss of time in responding to the calls and tracing their origin, the loss of use of her telephone




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for legitimate purposes, and her productivity. Such telephone calls have also invaded

Plaintiff’s privacy and statutory rights provided under the TCPA.

          52.   The harm suffered by Plaintiff due to Defendants’ TCPA violations bears a

close relationship with the types of injury for which the law has traditionally allowed

redress under common law claims for invasion of privacy, nuisance, conversion, trespass

to chattel, and wantonness.

                                   COUNT ONE
                       TELEPHONE CONSUMER PROTECTION ACT

          53.   Plaintiff incorporates the preceding relevant allegations as if fully set forth

herein.

          54.   Defendants, directly or through agents, placed telephone calls to Plaintiff’s

cellular telephone without obtaining prior express written consent.

          55.   The calls were made with an ATDS and/or the use of prerecorded or

artificial voice.

          56.   The calls were placed for marketing, advertising, and selling Defendants’

debt negotiation products and services. The calls constitute telemarketing and telephone

solicitation as those terms are defined in 47 CFR § 64.1200(f)(12) and (14).

          57.   Each call was made in violation of provisions of the TCPA, including but

not limited to, 47 USC § 227(b)(1)(A).

          58.   The unlawful telemarketing calls repeatedly invaded Plaintiff’s privacy,

causing her to suffer damages and entitling her to the relief provided under the TCPA,

including 47 USC § 227(b)(3).




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       59.      As a result of Defendant’s negligent violations of 47 USC § 227, et seq., Plaintiff

is entitled to an award of $500.00 in statutory damages for every infringement under 47 USC §

227(b)(3)(B).

       60.      Due to Defendants’ knowing and willful violations of 43 USC § (b)(3), Plaintiff is

entitled to increased damages of up to $1,500 per violation.

                                   COUNT TWO
                    VIOLATION OF THE TCPA’S DO NOT CALL RULE

       61.      Plaintiff incorporates the preceding relevant allegations as if fully set forth herein.

       62.      Defendants placed telephone calls to Plaintiff without obtaining her prior express

written consent.

       63.      The calls were placed for marketing, advertising and selling Defendants’ debt

negotiation products and services. The calls constitute “telemarketing” and “telephone

solicitation,” as those terms are defined in 47 CFR § 64.1200(f)(12) and (14).

       64.      Each call was made in violation of provisions of the TCPA, including 47 USC §

227(c)(3) and the Do Not Call Rule promulgated under the TCPA, 47 CFR § 64.1200(c)(2).

       65.      The unlawful calls repeatedly invaded the personal privacy of Plaintiff, causing her

to suffer damages and entitling her to the relief provided under the TCPA, including 47 USC §

227(b)(3)(B) and (c)(5).

       66.      Each call was made in willful and knowing violation of the TCPA and the Do Not

Call Rule.

       67.      As a result of Defendants’ violations of 47 USC § 227, et seq., Plaintiff is entitled

to an award of actual damages or statutory damages of up to $500.00 for each violation, according

to 47 USC § 227(c)(5)(B).




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          68.   As a result of Defendants, knowing and willful violations of 47 USC § 227,

et seq., Plaintiff is entitled to enhanced damages of up to $1,500.00 for every violation

under 47 USC § 227(c)(5).

                                   COUNT THREE
                             ALABAMA TELEMARKETING ACT

          69.   Plaintiff incorporates the preceding relevant allegations as if fully set forth

herein.

          70.   In 1994, Alabama adopted the “Alabama Telemarketing Act” (“ATA”) Ala.

Code § 8-19A-1 et seq.

          71.   On information and belief, Defendants are not licensed in Alabama as

required by Ala. Code § 8-19A-5(a) or are affiliated with an unlicensed commercial

telephone seller in violation of Ala. Code § 8-19A-15(c).

          72.   Defendants failed to give Plaintiff the oral disclosures required by Ala.

Code § 8-19A-12.

                                  COUNT FOUR
                      ALABAMA TELEPHONE SOLICITATIONS ACT

          73.   The Alabama legislature enacted the Alabama Telephone Solicitations Act

(“ATSA”) in 1999 to address the intrusion on personal privacy posed by unsolicited

telemarketing calls. It recognized such calls as “intrusive and relentless invasion of the

privacy and peacefulness of home.” Ala Code § 8-19C-1(4) (1975).

          74.   The ATSA was passed to provide Alabama consumers the power to decide

whether or not to receive telemarketing calls and provides a means for consumers to seek

redress for unlawful calling practices.      The ATSA prohibits telemarketing calls to

consumers who have placed their numbers on the nationwide Do-Not-Call Registry



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(“DNCR”). The ATSA also prohibits using technology to conceal the caller’s identity, such as

spoofing technology. The calls made by Defendants, or on their behalf, violate the ATSA.

       75.     Defendants knowingly placed or directed calls to Plaintiff in violation of the ATSA.

Plaintiff is entitled to recovery for actual damages and statutory damages provided in Ala. Code §

8-19C-7.

       76.     Through Defendants’ conduct above, Plaintiff suffered an invasion of a legally

protected interest in privacy, specifically addressed and protected by the TCPA and the ATSA.

       77.     By registering with the Do Not Call Registry as alleged above, Plaintiff has given

notice of her objection to receiving telephone solicitations within the meaning of Ala. Code Section

8-19C-2(a).

       78.     Defendants also violated the ATSA by knowingly utilizing a method to block or

circumvent caller identification service, thereby obscuring the source of the solicitation calls made

to Plaintiff. This is a violation of Ala. Code § 8-19C-5(b).

       79.     Plaintiff received multiple telephone solicitation calls within 12 months by

Defendants in violation of Section 8-19C-2(a) and Section 8-19C-5(b).

       80.     Plaintiff has suffered actual damages and injury-in-fact, including but not limited

to loss of time in answering the calls and tracing their origin, the loss of use of her telephone for

legitimate purposes and her productivity. Such calls have also invaded Plaintiff’s privacy and

statutory rights provided under the ATSA.

                                     Class Action Allegations

       81.     Plaintiff incorporates and realleges every allegation above and incorporates the

same herein by reference.




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       82.      Plaintiff brings this action individually and on behalf of all other persons

similarly situated (from now on referred to as “the Class”) under Rule 23, Federal Rules

of Civil Procedure.

       83.      Plaintiff proposes the following Class definition, subject to amendments as

appropriate:

                All persons within the United States who, since 12:01 a.m. on June
                29, 2018, through the date of the certification of a class herein,
                received a telephone call initiated by, on behalf of or at the direction
                of Defendants that related to or promoted goods or services offered
                by Touchtone.

       Collectively all these persons will be referred to as “Class Members.” Plaintiff

represents and is a member of the Class.

       86.      Excluded from this Class are all who received calls made to a business or

commercial landline and persons that have already settled or otherwise compromised their

claims against Defendants. Also excluded from the Class are the Defendants and any entity

in which the Defendants have a controlling interest, the Defendants’ agents and employees,

and Judge to whom this action is assigned and any member of such Judge’s staff and

immediate family, and all people who submit timely and otherwise proper requests for

exclusion from the Class.

       87.      Plaintiff does not know the exact number of members in the Class, but

Plaintiff reasonably believes Class Members number, at minimum, in the thousands.

       88.      The acts of Defendants have harmed Plaintiff and all Class Members as

stated above.

       89.      This Class Action seeks injunctive relief and money damages.




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           90.     The joinder of all Class Members is impracticable due to the size of the Class and

the relatively modest value of each individual claim.

           91.     The disposition of the claims in a Class Action will provide substantial benefit to

the parties and the Court in avoiding a multiplicity of identical suits.

           92.     The Class can be identified easily through records maintained by Defendants.

           93.     There are well-defined, nearly identical questions of law and fact affecting all

parties.

           94.     Such common questions of law and fact include, but are not limited to, the

following:

                   a.     Whether Defendants initiated telephone calls without the prior express

           written consent of the recipients;

                   b.     Whether Defendants’ telephone calls constitute “telemarketing” and

           “advertisement” within the meaning of the TCPA and its implementing regulations;

                   c.     Whether Defendants can meet their burden of showing that they obtained

           prior express written consent to initiate telephone calls to class members;

                   d.     Whether Defendants’ conduct was knowing and willful;

                   e.     Whether Defendants are liable for minimum statutory damages;

                   f.     Whether Defendants are liable for treble damages; and

                   g.     Whether Defendants should be enjoined from engaging in such conduct in

           the future.

           95.     Plaintiff’s TCPA and state law claims are typical of each Class Member. Plaintiff

received non-emergency telemarketing calls, placed by or at the direction of Defendants. The calls

were made without Plaintiff’s prior express written consent as defined by the TCPA.



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         96.    Plaintiff will fairly and adequately represent and protect the interests of the

Class.

         97.    Plaintiff has no interests that are antagonistic to any Class Member.

         98.    Plaintiff has retained counsel experienced in handling claims involving

violations of federal consumer protection statutes, including claims under the TCPA.

         99.    A Class Action is the superior method for this controversy's fair and

efficient adjudication.

         100.   Class-wide relief is essential to compel Defendants to comply with the

TCPA and state law.

         101.   The interest of the Class Members in individually pursuing claims against

Defendants is slight because the statutory damages for an individual action are relatively

small and therefore do not likely deter Defendants from engaging in the same behavior in

the future.

         102.   Management of these claims is likely to present significantly fewer

difficulties than in many Class claims because the calls at issue were all non-emergency

telephone calls placed to Class Members by Defendants without Class Members’ prior

express written consent as required by the TCPA.

         103.   Defendants have acted on grounds generally applicable to the Class, thereby

making final injunctive relief and corresponding declaratory relief with respect to the Class

as a whole appropriate.

         104.   Moreover, on information and belief, Plaintiff alleges that the TCPA

violations complained of herein are substantially likely to continue in the future if an

injunction is not entered.



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                                         PRAYER FOR RELIEF

              WHEREFORE, Plaintiff, for herself and on behalf of a class of similarly situated

      consumers, requests the following relief:

                          a. Certification of this Action as a Class Action;

                          b. actual damages:

                          c. statutory damages;

                          d. punitive damages;

                          e. statutory attorney’s fees;

                          f. injunctive relief;

                          g. costs provided for by statute and court rule; and

                          h. and such other relief the Court deems just, equitable and proper.

              Respectfully submitted this on the 8th day of December 2022.


                                                                 /s/ Earl P. Underwood, Jr.
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                                                          Attorneys for Plaintiff Lindsey J. Tompkins

                                      CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been served by electronic mail or by
United States Mail, properly addressed and first-class postage prepaid, on today December 8, 2022
on Counsel of record.
                                                                          s/ Earl P. Underwood, Jr.
                                                          17               Earl P. Underwood, Jr.
